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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 1:21-cr-00579-DLF
                                    :
 BRANDON STRAKA,                    :
                                    :
       Defendant.                   :
____________________________________:

                    GOVERNMENT’S NOTICE OF FILING OF VIDEOS
                      PURUSANT TO LOCAL CRIMINAL RULE 49

        The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following videos that were provided to the Court and defense

counsel on January 13, 2022 via USAfx, in response to the Court’s minute order relating to the

upcoming sentencing hearing. As video clips, they are not in a format that readily permits

electronic filing on CM/ECF.

        The videos are as follows:

        1.      A file entitled “Exhibit 1: Straka – January 6 video” which is a video recorded by

the defendant and subsequently posted to his Twitter account. The video shows the defendant at

the United States Capitol standing on the East Front steps of the U.S. Capitol, filming himself and

the rioters.

        2.      A file entitled “Exhibit 2: Straka – January 7 video” which is a video recorded by

the defendant and subsequently posted to his Twitter account. The video shows the defendant

recounting to his followers what occurred on January 6.
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       The government will also provide a disc with the videos to chambers. If the Court accepts

these proposed video exhibits into evidence, the United States takes the position that the entered

exhibits should be promptly released to the public.

                                             Respectfully submitted,

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                                             D.C. Bar Number 481052



                                     By:      /s/ Brittany L. Reed
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